         Case 1:09-md-02013-PAC Document 57 Filed 09/30/10 Page 1 of 45
          Case 1:03-cr-00669-JFK Document 85 Filed 05/13/19 Page 1 of 7
                                                                     USDC SDNY
                                                                     DOCUMENT
                                                                     ELECTRONICALLY FILED
                                                                     DOC #: _________________
    UNITED STATES DISTRICT COURT
                                                                     DATE FILED: 05/13/2019
UNITED
  SOUTHERN    STATES      DISTRICT
                   DISTRICT         OF COURT
                                       NEW YORK
SOUTHERN
  - - - - - - - - -DISTRICT
                   - - - - - - - -OF
                                  ---NEW
                                      - - - -YORK
                                              ------       X
-----------------------------------------------------------x
InUNITED
    re FANNIE       MAE 2008
                STATES             SECURITIES
                             OF AMERICA                    :           08 Civ. 7831 (PAC)
LITIGATION                                                 :           09 MD 2013 (PAC)
           -against-                                       :
                                                           :           OPINION & ORDER
                                                                       No. 03 Cr. 669 (JFK)
-----------------------------------------------------------x
 KENNETH STEVENS

                           Defendant.

HONORABLE PAUL
----------- - - - -A.
                   - - CROTTY,
                       - - - - - - - -United
                                      - - - - -States
                                                   X District Judge:
KENNETH STEVENS

                           Petitioner, BACKGROUND1

        The early years of this decade saw a boom in home financing
        -against-
                                                           No. 16 which
                                                                    Civ. was fueled,
                                                                          4660       among
                                                                                  (JFK)
 UNITED
other things,STATES   OF AMERICA
              by low interest rates and lax credit conditions. New lending instruments,
                                                                 OPINION    & ORDER such as
                     Respondent.
subprime mortgages (high credit risk loans) and Alt-A mortgages (low-documentation loans)

kept
 - - -the
       ---boom
           - - - -going.
                   - - - - -Borrowers
                            - - - - - - - played
                                          - - - - -a- role
                                                      - - too;
                                                            X they took on unmanageable risks on the
APPEARANCES
assumption that the market would continue to rise and that refinancing options would always be
FOR THE UNITED STATES OF AMERICA
       Michael
available           Dayton
          in the future.      Longyear
                         Lending discipline was lacking in the system. Mortgage originators did
       U.S. ATTORNEY'S OFFICE
not hold these high-risk mortgage loans. Rather than carry the rising risk on their books, the
FOR KENNETH STEVENS
       Colleen P. Cassidy
originators sold their loans into the secondary mortgage market, often as securitized packages
       FEDERAL DEFENDERS OF NEW YORK, INC.
known as mortgage-backed securities (“MBSs”). MBS markets grew almost exponentially.
JOHN F. KEENAN, United States District Judge:
        But then the housing bubble burst. In 2006, the demand for housing dropped abruptly
        Before the Court is Defendant Kenneth Stevens' ("Stevens")
and home prices began to fall. In light of the changing housing market, banks modified their
motion, pursuant to 28 U.S.C. § 2255, to vacate, set aside, or
lending practices
correct           and became
           sentence.         unwilling
                           For         to refinancebelow,
                                the reasons         home mortgages without refinancing.
                                                            this motion       is denied.

                                              I .      Background
1
 Unless otherwise indicated, all references cited as “(¶ _)” or to the “Complaint” are to the Amended Complaint,
dated June 22, 2009. For purposes of this Motion, all allegations in the Amended Complaint are taken as true.



                                                         1
       Case 1:03-cr-00669-JFK Document 85 Filed 05/13/19 Page 2 of 7




     On September 20, 2004, following a jury trial, Stevens was

convicted on four counts of bank robbery in violation of 18

U.S.C. § 2113(a).     On June 28, 2005, the Court sentenced Stevens

to a total of 216 months' imprisonment to be followed by three

years' supervised release.

     On June 17, 2016, Stevens filed the initial motion which he

amended on June 26, 2016.        Stevens was released from custody on

January 11, 2019 and is now, presumably, serving his term of

supervised release.

                           II.    Legal Standards

     Pursuant to 28 U.S.C. § 2255(a), a "prisoner in custody

under sentence of" a federal court "may move the court which

imposed the sentence to vacate, set aside or correct the

sentence" if the prisoner claims that "the sentence was imposed

in violation of the Constitution or laws of the United States,

or that the court was without jurisdiction to impose such

sentence, or that the sentence was in excess of the maximum

authorized by law, or is otherwise subject to collateral

attack."   Relief under§ 2255 is only available "for a

constitutional error, a lack of jurisdiction in the sentencing

court, or an error of law or fact that constitutes a fundamental

defect which inherently results in complete miscarriage of


                                     2
          Case 1:03-cr-00669-JFK Document 85 Filed 05/13/19 Page 3 of 7




justice." Graziano v. United States, 83 F.3d 587, 590 (2d Cir.

1996)    (internal quotation marks and citations omitted).

                                 III. Discussion

        As an initial matter, for the purposes of a§ 2255 motion,

a petitioner under supervised released is still considered "in

custody." Wilson v. United States, No. 09 Cr. 1086 (DAB) (GWG),

No. 13 Civ. 7430 (DAB) (GWG), 2014 WL 748510, at *5 (S.D.N.Y.

Feb. 26, 2014)      (citing Scanio v. United States, 37 F.3d 858, 860

(2d Cir. 1994)).       Since Stevens is currently serving his term of

supervised release, the Court can hear this motion.

        Stevens argues that the Supreme Court recognized a new

right in Johnson v. United States, 135 S. Ct. 2551 (2015), which

found that the residual clause of the Armed Career Criminal Act

was unconstitutionally vague in violation of the Due Process

Clause.    (Mem. of L. in Supp. of Mot. at 27-29, 16-cv-4660, ECF

No. 9 (filed June 8, 2017)        [hereinafter "Mem."]).      Stevens was

sent~nced as a "career offender" under the United States

Sentencing Guidelines (the "Guidelines") because his federal

offenses and previous offenses in the state qualified as "crimes

of violence" under§ 4B1.2(a)'s residual clause.             (Sentencing

Transcript at 11, 16-cv-4660, ECF No. 9-1 (filed June 8, 2017)

[hereinafter "Sent. Tr."].)         Stevens argues that because§


                                       3
         Case 1:03-cr-00669-JFK Document 85 Filed 05/13/19 Page 4 of 7




4Bl.2(a)'s residual clause and the clause Johnson invalidated

are "identically worded,"§ 4Bl.2(a) is also unconstitutionally

vague.   (Mem. at 7-8.)

     The Government contends that Beckles v. United States, 137

S. Ct. 886 (2017), forecloses any Johnson relief because, in

that case, the Supreme Court held that the Guidelines "are not

subject to vagueness challenges under the Due Process Clause" as

they are advisory, and, thus, found that"§ 4Bl.2(a) 's residual

clause is not void for vagueness." (Mem. of L. in Opp. To Pet.'s

Mot. at 4, 16-cv-4660, ECF No. 13 (filed Sept. 11, 2017)             (citing

Beckles, 137 S. Ct. at 895) .)

     Stevens replies that, though that holding applies to

sentences imposed while the Guidelines were advisory, the Second

Circuit has held that "Beckles did not clearly foreclose" an

argument that Johnson applies to sentences "imposed prior to

United States v. Booker, 542 U.S. 220         (2005), which rendered the

previously mandatory Guidelines discretionary." (Mem. at 5

(quoting Vargas v. United States, 16-2112 (L), 2017 WL 3699225,

·at *l (2d Cir. May 8, 2017)) .)      While Stevens himself admits

that he was sentenced after Booker, he argues that his sentence

was decided before United States v. Cavera, 550 F.3d 180 (2d

Cir. 2008), the case in which the Second Circuit first held that


                                      4
       Case 1:03-cr-00669-JFK Document 85 Filed 05/13/19 Page 5 of 7




the Guidelines were "fully advisory." (Mem. at 9-11 (citing

Cavera, 550 F.3d at 191) .)    As such, Stevens argues that he was

sentenced under "more than advisory" Guidelines and,

accordingly, Beckles does not apply.       (Id. at 9, 12-13.)     The

Court is unpersuaded.

     As Judge McMahon observed in resolving an essentially

identical argument, "long before Cavera was decided" and prior

to Stevens' sentencing "the Second Circuit was aware, and its

constituent district courts were on notice, that Booker rendered

the Sentencing Guidelines advisory." Apostolopuos v. United

States, No. 16 Civ. 4564    (CM), No. 04 Cr. 1220 (CM), 2017 WL

6034158, at *2   (S.D.N.Y. Nov. 21, 2017).      As much was evident,

Judge McMahon argued, from several Second Circuit cases decided

between Booker and Stevens' sentence. Id.        (citing United States

v. Crosby, 397 F.3d 103, 111 (2d Cir. Feb. 2, 2005)         (holding

that the Guidelines were advisory and that judges must

"consider" the Guidelines along with the other factors listed in

section 3553(a) ); United States v. Rosen, 409 F.3d 535, 550            (2d

Cir. June 6, 2005)   ("Accordingly, under this Court's decision in

United States v. Crosby, 397 F.3d 103, we will remand this

matter to the district court to determine whether, had it known

that the Guidelines were to be consulted on an advisory basis


                                    5
       Case 1:03-cr-00669-JFK Document 85 Filed 05/13/19 Page 6 of 7




rather than applied mandatorily [in deciding a sentence pre-

Booker], Rosen would have received the same sentence."); United

States v. Fagans, 406 F.3d 138, 142 (2d Cir. Apr. 27, 2005)

("Since the Guidelines calculation [at a pre-Booker sentencing]

was correct, the compulsory use of the Guidelines was erroneous

and Fagans preserved his objection to that error, we remand to

the District Court with instructions to vacate the sentence and

resentence in conformity with Booker and this opinion.")).

Moreover, at Stevens' sentencing, both defense counsel and the

Government reminded the Court about this new sentencing standard

and the Court evidently considered that standard in deciding the

appropriate sentence.       (Sent. Tr. at 9-11.)

     Given that the Second Circuit repeatedly put courts in this

district on notice about Booker's implications and that the

transcript clearly indicates that the Court was aware of and

considered the change in deciding Stevens' sentence, Stevens was

clearly sentenced under advisory guidelines and, thus, Beckles

controls. See Apostolopuos, 2017 WL 6034158, at *3.

Accordingly, Johnson relief is unavailable and this petition

must be denied.   1   Id.



1 The Court would have denied this petition even if Stevens had been
sentenced pre-Booker since the Supreme Court has not recognized a new
right applicable to mandatory career offender guidelines. See Nunez v.
                                      6
         Case 1:03-cr-00669-JFK Document 85 Filed 05/13/19 Page 7 of 7




                                 Conclusion

     For the reasons above, Stevens' motion to vacate, set

aside, or correct his sentence is DENIED.           The Court further

declines to issue a certificate of appealability, as petitioner

has not made a substantial showing of a denial of a federal

right. See Matthews v. United States, 682 F.3d 180, 185 (2d Cir.

2012).    The Court further finds, pursuant to 28 U.S.C. §

1915(a) (3), that any appeal from this order would not be taken

in good faith. See Coppedge v. United States, 360 U.S. 438, 444-

45 (1962).

     The Clerk of Court is directed to terminate the motions at

ECF No. 78 in 03-cr-669 and ECF No. 4 in 16-cv-4660 and close

16-cv-4660.

SO ORDERED.
Dated:    New York, New York
          May /7 , 2019                 fr~ 7r;e~~
                                        \          JOHN F. KEENAN
                                            United States District Judge




United States, No. 16 Civ. 4742 (LAK), 2018 WL 2371714, at *2
(S.D.N.Y. May 24, 2018); Bryant v. United States, No. 16 Civ. 4986
(VB), 93 Cr. 645 (VB), 2018 WL 1010212, at *2 (S.D.N.Y. Feb. 20,
2018). As defendants had, thus, failed to identify such a right, these
courts denied their respective§ 2255 petitions for timeliness. Nunez,
2018 WL 2371714 at *3; Bryant, 2018 WL 1010212, at *3. The Court could
have denied this petition as untimely on the same grounds. See
Apostolopuos, 2017 WL 6034158, at *3 n.1.
                                   7
